                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN


JEFFREY ANDERS,
               Plaintiff,
                                                      Case No. 2:20-CV-00438-BHL
       v.

METALCRAFT OF MAYVILLE, INC.,
              Defendant.


    CIVIL LOCAL RULE 7(h) EXPEDITED NON-DISPOSITIVE MOTION TO
CONSOLIDATE AND EXTEND PLAINTIFF’S REPLY TO PLAINTIFF’S MOTION TO
          DISMISS AND DEFENDANT’S MOTION FOR SANCTIONS


       Pursuant to Civ. L. R. 7(h), Plaintiff respectfully requests the Court grant this motion to

consolidate Plaintiff’s reply to their pending motion to dismiss and response to Defendant’s

pending motion for sanctions and extend time by ten days for Plaintiff to file its consolidated

reply/response. On January 18, 2022, Plaintiff filed their pending motion to dismiss the above-

captioned matter with prejudice and without further costs or attorneys’ fees to either party. On

February 1, 2022, Defendant filed its response to Plaintiffs’ motion to dismiss and separately

filed a motion for sanctions pursuant to Fed. R. Civ. P. 11. Defendant’s motion for sanctions and

response to Plaintiff’s motion for dismissal are inextricably linked as Defendant relies on its

motion for sanctions and supporting brief to supports its position in response to Plaintiff’s

motion to dismiss. Consolidating Plaintiff’s reply/response to these motions will allow for a

more efficient resolution of these issues than requiring the submission of separate briefs that

largely cover related issues. In addition, given the severity of Defendant’s allegations, Plaintiff

and Plaintiff’s Counsel require additional time to explore the possibility of obtaining sanctions

counsel to respond to Defendant’s motion.




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Accordingly, Plaintiff requests that the Court enter an Order:

1) providing that Plaintiff shall file one brief totaling up to 30 pages in reply to

   Defendant’s response to Plaintiff’s pending motion to dismiss as well as in response

   to Defendant’s motion for sanctions by no later than March 4, 2022; or

2) Alternatively, setting a status conference to discuss scheduling in this matter.

Dated this 7th day of February 2022.

                                              Respectfully submitted,


                                              s/ Timothy P. Maynard
                                              Larry A. Johnson
                                              Bar Number 1056619
                                              Summer Murshid
                                              Bar Number 1075404
                                              Timothy Maynard
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